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                  UNITED STATES DISTRICT COURT
                                  District of Kansas
                                 (Kansas City Docket)
                                                                          F ~' ~ D
                                                                             AUG 2 6 2021
UNITED STATES OF AMERICA,                                                                     i
                                                                                              F




                           Plaintiff,

             v.                                        CASENO. oll         -Joo+1 - MvT(Jpo
                                                       FILED UNDER SEAL
PAVEL ALEKSANDROVICH AKULOV,
MIKHAIL MIKHAILOVICH GAVRILOV, and
MARAT VALERYEVICH TYUKOV

                           Defendants.




                                 INDICTMENT


      THE GRAND JURY CHARGES:

                                  INTRODUCTION

       1.    At all times relevant to the indictment, from at least in and around July 2012

through at least in and around November 2017, the Russian Federation ("Russia") operated

an intelligence and law enforcement agency called the Federal Security Service ("FSB").

The FSB was headquartered in Moscow, Russia, and was comprised of multiple units,

including Military Unit 71330, which was also known within the FSB as "Center 16." The

Conspirators in this case are members of a discrete operational unit within Center 16 known



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by cybersecurity researchers as "Dragonfly," "Berzerk Bear," "Energetic Bear," and

"Crouching Yeti." FSB Center 16 was primarily located at 12 Prospekt Vernadskogo in

Moscow, Russia.

      2.     Defendants       PAVEL     ALEKSANDROVICH             AKULOV         (I1aBen
                                                                                            l
                                                                                            F
AneKcaH,D;pomrLI   AKynoB),   MIKHAIL      MIKHAILOVICH         GAVRILOV       (Mn:xan:n

Mn:xattJIOBHLI f'aBpn:noB), and MARAT VALERYEVICH TYUKOV (MapaT BanepbeBHLI

TIOKOB) were FSB officers working for Center 16. The Defendants, along with other

members of FSB Center 16, knowingly and intentionally conspired with each other and

with persons known and unknown to the grand jury (collectively, the "Conspirators") to

undertake a sophisticated campaign to target and compromise (i.e., "hack") and maintain

persistent access to the networks of critical infrastructure and energy companies

worldwide, including in the District of Kansas. Cybersecurity researchers referred to the

two phases of the Conspirators' campaign relevant to the allegations herein as: (i)

"Dragonfly" or "Havex"; and (ii) "Dragonfly 2.0."

      3.     A common theme of both campaign phases was the Conspirators' focus on

software and hardware that controls equipment in power generation facilities, known as

Industrial Control Systems ["ICS"] or Supervisory Control and Data Acquisition systems

["SCADA"] systems.      During the Havex phase, the Conspirators compromised the

computer networks of ICS/SCADA manufacturers and software providers and then hid

their malware inside the legitimate software updates for such systems (known as a "supply

chain attack"). Upon being downloaded by unsuspecting customers, the Conspirators'

malicious software, among other functions, located and compromised the customers'

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ICS/SCADA systems. Through such efforts, as well as other techniques, the Conspirators

installed malware on more than 17,000 unique devices in the United States and elsewhere,

including ICS/SCADA controllers used by power and energy companies.

       4.     During the later Dragonfly 2.0 phase, the Conspirators transitioned to more

targeted compromises that focused on specific energy sector entities or individuals and
                                                                                             l
engineers who worked in or with ICS/SCADA systems.                Such efforts included:

(i) spearphishing attacks, often with SCADA themes, targeting more than 3,300 users at

more than 500 U.S. and international companies and entities; and (ii) compromising servers

hosting websites commonly visited by engineers in the energy sector or otherwise involved

in ICS/SCADA system manufacturing and then using these websites to deploy malware

onto the engineers' (or other visitors') computers (known as a "watering hole attack").

       5.     Regardless of the evolution of the Conspirators' methods of compromise, the

Conspirators' goals remained the same: to establish and maintain surreptitious,

unauthorized access to networks, computers, and devices of companies and other entities

in the energy sector, including power generation facilities, in the United States and

elsewhere. Such accesses enabled the Russian government to disrupt and damage such

systems, if it wished.




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6.   Images of Defendants are included below:

                     Pavel Aleksandrovich Akulov
                  (IIaBeJI AneKcaH,r:i:poBJ1q AKynoB)




                                                                    r




                   Mikhail Mihailovich Gavrilov
                 (MHXaJfJI MHxaHJIOBllq r aBpllJIOB)




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                                Marat Valeryevich Tyukov
                               (MapaT Banep1,em1q TIOKOB)




                                     THE VICTIMS

       7.     The vast majority of companies targeted (and, in many cases, compromised)

by the Conspirators were hundreds of U.S. and international energy sector companies and

small commercial companies working with the energy sector, including companies that

provide software and hardware used to control ICS/SCADA systems. The Conspirators

also compromised and used, without authorization, the computers and networks of other

companies, some of which had no ties to the energy industry, to serve as proxies to conduct

and attempt to conduct intrusions into energy sector targets.

       8.     The following are examples from among hundreds ofU.S.-based companies

and organizations that were victims and targets of the conspiracy:

                     a.     the Nuclear Regulatory Commission ("NRC"), a U.S.

              government agency responsible for regulating entities that use nuclear

              materials, including nuclear power plants;


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             b.     Wolf Creek Nuclear Operating Corporation ("Wolf Creek"), a

     company located in Burlington, Kansas, that operates the Wolf Creek

     Generating Station, a nuclear power plant;

             C.     Westar Energy, a company located in Topeka, Kansas, which

     was one of the owners of Wolf Creek during the conspiracy;

             d.     Kansas Electric Power Cooperative ("KEPCO"), a member-

     owned not-for-profit power generation and transmission electric cooperative

     located in Topeka, Kansas, which was one of the owners of Wolf Creek

     during the conspiracy;

             e.     Company One, a data storage company located m the

     Midwestern United States;

             f.     Company Three, a commercial construction company located

     in Michigan;

             g.     Company Four, a renewable energy company located in New

     York;

             h.     Company Five, a renewable energy company located in New

     England;

             1.     Company Six, an Illinois-based media company that produces

     publications and websites catering to engineers in the manufacturing, oil and

     gas, and industrial control systems industries;

             J.     Company Seven, a company located m Pennsylvania that

     provides digital high-definition cable and high-speed internet;

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                     k.     Company Eight, an energy company located in Illinois;

                     1.     Company Nine, an energy company located in Ohio; and,

                     m.     Company Ten, a U.S. company that specializes in providing

              consulting services to nuclear power providers.
                                                                                               t
                                                                                               F

       9.     Additionally, hundreds of foreign victims and targets of the conspiracy were

based in over 135 countries, including: Albania, Australia, Belgium, Brazil, Canada, China,

Croatia, Denmark, Finland, France, Germany, Hungary, India, Ireland, Italy, the

Netherlands, New Zealand, Norway, Pakistan, Singapore, Slovakia, South Africa, South

Korea, Spain, Sweden, Switzerland, and the United Kingdom. This group included global

oil and gas firms, utility and electrical grid companies, nuclear power plants, renewable

energy companies, consulting and engineering groups, and advanced technology firms.

       10.    One of the victim companies based outside the United States was Company

Two, a global SCADA and industrial automation company.

                                  THE DEFENDANTS

       11.    Defendant PAVEL ALEKSANDROVICH AKULOV was a Russian

military officer assigned to Military Unit 71330 and held the rank of lieutenant as of 2013.

AKULOV conducted online reconnaissance in support of the Conspirators' spearphishing

campaigns, including reconnaissance supporting the Conspirators' targeting of, and

unauthorized access to, Wolf Creek's computer network (part of Dragonfly 2.0).

       12.    Defendant MIKHAIL MIKHAILOVICH GAVRILOV was a Russian

military intelligence officer assigned to Military Unit 71330. During his tenure with the

unit, GAVRILOV held the position of captain and, later, major. GA VRILOV conducted,

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at least in part, computer intrusions into Wolf Creek's computer network, as well as

computer intrusions against Company Seven's computer network, which the Conspirators

used to access various energy, utility, and critical infrastructure webmail login webpages

(both part of Dragonfly 2.0).
                                                                                              F

       13.    Defendant MARAT VALERYEVICH TYUKOV was a Russian military

intelligence officer assigned to Military Unit 71330. TYUKOV engaged in unauthorized

access to a server owned by Company One, which he, at least in part, used to manage

command and control ("C2") infrastructure.          TYUKOV also engaged in computer

intrusions against Company Two's computer network.            The Conspirators then laced

updates for Company Two's industrial control software with malware, where it was

available for download by power and energy companies worldwide, including in the United

States (part ofDragonfly/Havex).

                                         COUNTl

 CONSPIRACY TO CAUSE DAMAGE TO THE PROPERTY OF AN ENERGY FACILITY; TO
    GAIN UNLAWFUL ACCESS AND OBTAIN INFORMATION FROM A PROTECTED
COMPUTER; TO DAMAGE A PROTECTED COMPUTER; AND TO ACCESS A NON-PUBLIC
      COMPUTER OF A GOVERNMENT AGENCY WITHOUT AUTHORIZATION
                             [18 u.s.c. § 371)

       14.    The allegations contained in paragraphs 1 through 10 are repeated, re-

alleged, and incorporated by reference as if fully set forth herein.

       15.    Beginning at least in and around July 2012 and continuing through at least in

and around November 2017, the exact dates being unknown to the grand jury, in the District

of Kansas and elsewhere, the defendants,




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                      PAVEL ALEKSANDROVICH AKULOV
                    MIKHAIL MIKHAILOVICH GA VRILOV, and
                              MARATTYUKOV

knowingly and intentionally combined, conspired, confederated, and agreed together, with

each other and with others known and unknown to the grand jury, to commit the following
                                                                                                  L
offenses against the United States:

              a.     to knowingly and willfully cause damage to the property of an energy

       facility that would have, if completed, caused a significant interruption and

       impairment in the function of such energy facility, in violation of Title 18, United

       States Code, Section 1366;

              b.     to access a computer without authorization and to obtain thereby

       information from a protected computer, in furtherance of a criminal and tortious act

       in violation of the laws of the United States, that is, conspiracy to commit wire fraud,

       in violation of Title 18, United States Code, Section 1349, in violation of Title 18,

      United States Code, Sections 1030(a)(2)(C) and 1030(c)(2)(B)(ii);

              c.     to knowingly cause the transmission of a program, information, code,

       and command, and as a result of such conduct, to cause damage without

       authorization to a protected computer, and where the offense did cause and would,

       if completed, have caused loss aggregating more than $5,000 in value to at least one

      person during a one-year period from a related course of conduct affecting a

      protected computer and damage affecting at least 10 protected computers during a

       one-year period, in violation of Title 18, United States Code, Sections 1030(a)(5)(A)

       and 1030(c)(4)(B); and

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                d.     to intentionally, without authorization, access a non-public computer

       of a department or agency of the United States, namely, the NRC, that is exclusively

       for the use of the Government of the United States, in violation of Title 18, United

       States Code, Sections 1030(a)(3) and 1030(c)(2)(A).

       16.      All in violation of Title 18, United States Code, Sections 371 and 2.

                           OBJECT OF THE CONSPIRACY

       17.      The object of the conspiracy was to establish and maintain surreptitious,

unauthorized access to networks, computers, and devices of companies and other entities

in the energy sector, including power generation facilities, in the United States and

elsewhere, thereby enabling the Russian government to disrupt and damage such systems,

if it wished.

                     MANNER AND MEANS OF THE CONSPIRACY

       18.      To avoid detection by law enforcement, security researchers, and victims,

and to mask their FSB affiliation and location in Russia, the Conspirators used a variety of

fictitious names and personas, as well as online infrastructure (including servers, domains,

email accounts, and other online services), provided by and belonging to companies in the

United States and elsewhere.

       19.      The Conspirators used this infrastructure, frequently without authorization,

for a wide range of conduct in furtherance of the conspiracy, including the methods

identified below, internal communications, reconnaissance and research about energy

sector victims, and the storage, management, and distribution of hacking tools and

malware.
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       20.    The Conspirators often initiated their hacking activities by researching victim

organizations and probing their computer networks.          This reconnaissance provided

technical and biographical information that the Conspirators could exploit in targeting their

computer intrusion victims.
                                                                                                t
       21.    In some cases, the Conspirators gained unauthorized access to victim devices

and networks through a particular malware package (known publicly as "Havex") that was

designed to compromise computers, networks, and ICS/SCADA devices. Among other

things, Havex allowed the Conspirators to install backdoor access to compromised devices

and networks. One of the ways the Conspirators spread Havex to more than 17,000 unique

devices worldwide was by inserting Havex into otherwise legitimate ICS/SCADA software

through supply chain attacks.

       22.    The Conspirators also gained unauthorized access to targeted victim

networks by exploiting a vulnerability in a particular security software package (the

"Security Software Vulnerability") that allowed for remote code execution - i.e., the

Conspirators could run unauthorized programs on the victim machine. While the specific

vulnerability used by the Conspirators is unknown, it is likely that at some victims had not

installed available software patches. The Conspirators then used such access to create

administrator accounts on victim networks. Examples of U.S.-based victims that were

compromised through this method include Company Three and Company Seven.

       23.    In some cases, the Conspirators used administrator-level privileges (e.g.,

privileges obtained using the Security Software Vulnerability) to access victim networks

through remote desktop protocol ("RDP") connections and to create company email

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accounts. They then used those accounts to send spearphishing emails to numerous targets,

including individuals and engineers who worked in or with critical infrastructure

ICS/SCADA systems. For example, the Conspirators used their unauthorized access to

Company Three's computer network to create email accounts for fictitious employees (e.g. ,

jon.patrick@[Company Three's corporate domain].com) and to send spearphishing e-mails
                                                                                                l
to accounts at Wolf Creek, Westar Energy, NRC, Company Four, Company Eight, and

Company Nine. In many cases, the Conspirators crafted these spearphishing emails to

appear as though the sender was a job seeker with experience in critical infrastructure tools

and protocols.

       24.       The Conspirators would attach a purported resume, titled either "Controls

Engineer.docx," "CV Controls Engineer.docx," or "CV [false Company Three employee

name]" (the "Controls Engineer Resumes") that contained malware that would collect

victims' computer credentials by leveraging a Server Message Block ("SMB") redirect

vulnerability.     Specifically, when a recipient opened the malicious attachment, their

computer would attempt to download a file from a server controlled by the Conspirators.

If the victim network's firewall did not block outbound SMB protocol traffic, the

recipient's computer in many cases would attempt to authenticate to the Conspirators'

server by sending the recipient's username and password hash (i.e., a string of numbers

that can be translated into an actual password if the recipient device has the proper

algorithm or via a brute force attack). If Conspirators successfully decrypted the password

via brute force, they could then use the username and password to gain unauthorized access

to the network.

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       25.    In addition, the Conspirators used spearphishing emails and publicly known

vulnerabilities in popular content management software to compromise web servers

hosting websites commonly visited by engineers in energy industries, including websites

managed by Company Four, Company Five, and Company Six. The Conspirators used

this unauthorized access to add malicious JavaScript code to the websites. These watering

hole attacks allowed the Conspirators to steal the credentials of individuals who browsed

the compromised websites.

       26.    After gaining unauthorized access to victim computers, the Conspirators

installed tools and performed a variety of functions designed to maintain control and access

to these computers and networks. One such tool was "Backdoor.Goodor," which is a

downloader that opened a backdoor on the victim computer and beaconed to hardcoded

domains controlled by the Conspirators. The Conspirators would then work to identify,

collect, package, and view user credentials, all to allow the Conspirators to move laterally

(i.e., to additional computers within a victim network or entity) and hierarchically (i.e., at

increasingly higher levels of access) throughout victims' computer networks. Through

such methods, the Conspirators would identify and obtain access to sensitive, private data

and maintain persistent access that would enable future cyber operations, including

operations designed to interfere with and damage power and power delivery systems.

             COMPUTER INTRUSIONS AND OTHER OVERT ACTS

       PHASE ONE: Deployment and Management ofHavex Infrastructure

       27.    Between at least 2012 through 2014, the Conspirators used spearphishing,

watering hole attacks, and supply chain attacks to deploy Havex, which they subsequently
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used, in part, to map and compromise networked ICS/SCADA devices. Specifically, after

infecting a computer on a network, one Havex component would automatically use the

Open Communications Platform, a protocol used for Windows communications with

SCADA devices, to locate ICS/SCADA devices on a targeted network.

       28.    Havex also allowed the Conspirators to, among other things, copy login
                                                                                                 l
credentials, gather user information from infected computers and devices, and install

backdoors, allowing them to access and control compromised devices at will.

                  Compromise and Use of Company One Server as a Proxy

       29.    Beginning in at least July 2012, the Conspirators accessed, without

authorization, a server owned by Company One ("the Company One Proxy"). From in and

around July 2012 through in and around April 2013, the Conspirators maintained exclusive

control of this server and used it as a proxy through which they could route their operational

traffic while hiding their true location and identities as they engaged in criminal activity .

While being used by the Conspirators, the server housing the Company One proxy was

located in the United States.

       30.    The Conspirators used the Company One proxy to, among other things,

create and manage a wide-ranging network ofHavex C2 servers. For example, on August

28, 2012, the Conspirators used the Company One proxy to upload Havex malware control

panels to three C2 servers. The Conspirators maintained exclusive access to the control

panels installed on these three servers via a unique password. The Conspirators used this

same password to access more than 250 other domains that they used to host Havex C2

infrastructure.

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       31.    On or about August 30, 2012, TYUKOV used the Company One proxy to

access the Havex control panels on three Havex C2 servers.· After viewing the files on

those servers, TYUKOV uploaded one copy of the Havex malware to each of the C2

domains.

      32.    While logged into the Havex control panels, TYUKOV also uploaded files

for use in watering hole attacks that installed Havex and other exploits on a visitor's

computer.

                          Target Research and SQL Injection

      33.    The Conspirators commonly conducted online research to identify potential

targets. For example, on multiple occasions in July 2012, the Conspirators used the

Company One proxy to conduct target research on the website of the International Atomic

Energy Agency. One of the pages viewed by the Conspirators listed companies and

agencies involved in nuclear power activities in the United States, and discussed numerous

entities targeted by the Conspirators throughout the conspiracy, including the NRC, Wolf

Creek, Company Eight, and Company Nine.

      34.    Throughout December 2012, the Conspirators repeatedly targeted the

website of Company Ten via Structured Query Language (SQL) injections, an exploitation

method that relies on misconfigured web applications to provide an actor with the ability

to read and write information, execute administrative operations, and issue commands to

the operating system.

      35.    Through these efforts, the Conspirators compromised Company Ten's

website and obtained non-public information, including the usernames and passwords of

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more than 10,000 users on Company Ten's website. Among these were hundreds of

individual users at entities targeted throughout the conspiracy, including the NRC, Wolf

Creek, Westar Energy, Company Eight, and Company Nine.

                          SCADA Manufacturer Compromise
                                                                                            j
                                                                                            F

       36.    In and around August 2012, TYUKOV and other Conspirators used the

Company One proxy to conduct SQL injections against a website belonging to Company

Two. Ultimately, TYUKOV obtained unauthorized access to nonpublic data, including

internal configuration information about the server hosting Company Two's website,

information about the database supporting that website, and the username and password

for the website's administrator account.

      37.     On or about November 12, 2012, the Conspirators again accessed Company

Two's server and downloaded BIOS and driver software for Company Two products.

                              Havex Supply Chain Attack

       38.    Between at least 2013 and 2014, the Conspirators caused the distribution of

Havex malware inside legitimate Company Two driver software that was available for

public download.      Once installed, this software attempted to contact Havex C2

infrastructure. For example, a version of the compromised update software was found on

a SCADA device used by a power generation plant in the United States.




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        PHASE TWO: Targeted Persistent Access to Victim Companies' Systems

       39.     In a second phase of the conspiracy, the Conspirators undertook other efforts

to obtain long-term, persistent access to the computer systems of energy companies and

their power generation facilities (generally referred to "Dragonfly 2.0," as noted above).

             Energy Sector Spearphishing Attacks via Compromised Servers

       40.     In and around early 2014, the Conspirators used the Security Software

Vulnerability to compromise a Michigan-based server that belonged to Company Three.

       41.     From in and around March 2014 through in and around October 2015, the

Conspirators used this unauthorized access to create four administrator accounts on

Company Three's network with usernames resembling legitimate systems or processes,

such as MS_AutoUP, SYSTEM_USER, LOCAL_SYS, and SYSTEM_NT (the

Conspirators also created accounts with identical names on other victim networks).

       42.     In and around February and March 2017, the Conspirators used one of their

unauthorized administrator accounts to create four Company Three email accounts

associated with fictitious names. From on or about February 28, 2017, to on or about May

31, 201 7, the Conspirators used these email accounts to send spearphishing emails with

malware-laced attachments to more than 3,300 email accounts associated with more than

500 U.S. and international companies and entities, primarily in the energy sector. The

targets of the Conspirators' spearphishing emails included more than 170 companies and

entities in the United States, in addition to hundreds of companies in and entities in Africa,

Asia, Australia, Europe, the Middle East, and South America, as well as more. Some

examples of the Conspirators spearphishing against U.S.-based targets include:
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             a.     one e-mail sent on or about May 24, 201 7 to an NRC account;

             b.     ten nearly identical emails sent on or about May 5 and 15, 2017, to

      eight Wolf Creek accounts belonging to eight Wolf Creek employees ("Employees

       1 through 8");

             c.     twenty-nine emails sent on or about May 19, 2017, to nineteen
                                                                                           r
      KEPCO accounts;

             d.     nineteen emails sent on or about May 19 and 24, 2017, to nineteen

      Westar Energy accounts;

             e.     thirty-seven emails sent on or about May 24 and 29, 2017 to twenty-

      nine Company Four accounts;

             f.     eighteen emails sent from on or about May 11, 2017, to May 24, 2017,

      to fourteen Company Eight accounts;

             g.     three emails sent from on or about May 15, 2017, to May 24, 2017,

      to two accounts at Company Nine.

      43.    The Conspirators sent the May 5, 2017 spearphishing emails to Wolf Creek

Employees 1 through 7 over the course of about five minutes, after AKULOV had

conducted reconnaissance against Wolf Creek, Westar Energy, and international energy

sector networks.

      44.    The Conspirators specifically targeted users likely to have access to

ICS/SCADA data and systems, since these emails, as well as the malware-laced

attachments, typically referenced SCADA systems. An example of one of these emails is

included below.

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              f-ro111:
                  ·10 .
              Dc1 te:     5/5/2017 8:58:01 AM
            Subject :     CV Kevin North
     /\lla cl1m en ls     CV Controls Engineer.docx
                                                  -   -- - - - - - - - - - - - - - - - - - - - - -
                                                                                                                                      I
    Hello                                                                                                                             IF

    Over IO years C:Ontrols/Software Experience

      Software development ror PLC based control systems:
      SIEMENS S5, S7·200, S7·300, SMOO series,
      Rockwell 5000, 500 series.
      SCADA, HMI configuration.


      Various C:Onveyor system experiences
      Networ1dng with PLC's: EU)ernet, PROl'JOUS-DP, PROFINET MP!, Ast, DeviceNet, DH+
      EPI.AN

    Multi - skilled controls engineer with experience In hands-on project based w0<k. Experience ranges rrom budget csUmate and man
    engineering projects to developing and commissioning software·for PLC • SCADA control systems.

    I Look r0<ward to hearing back.

    Oest Regards,

    Kevin N0<U)




       45.          On or about May 15, 2017, GAVRJLOV assisted m drafting the

spearphishing e-mail sent that day to Wolf Creek Employee 1.

       46.          Although many targeted users at U.S.-based entities opened the malicious

attachments, most of the malicious activity was blocked by victims' network firewalls

(which blocked outbound SMB protocol connections) or mitigated before the actors could

leverage the stolen credentials. But, as discussed below, even a single user clicking on the

malicious attachment was enough for the Conspirators to compromise a targeted

company's network.




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                   Compromise of Wolf Creek's Computer Network

       47.    In and around May 2017, after using the Conspirator-created Company Three

accounts to send spearphishing emails to Wolf Creek email accounts as described in

paragraphs 42-46, the Conspirators compromised at least one Wolf Creek user account and         f
                                                                                                j
used that account to download and store malware on Wolf Creek's business network, which

was not directly connected to any ICS/SCADA devices. The Conspirators then used this

malware to move laterally across Wolf Creek's computer network and harvest additional

Wolf Creek employee credentials. The servers that housed the accounts for Employees 1-

8 - as well as Employee 9, discussed below - during this time were located in the District

of Kansas. Further, during this time, all of Wolf Creek's internet traffic was routed through

servers located in the District of Kansas.

       48.    Specifically, the Conspirators first obtained unauthorized access to Wolf

Creek's computer network on or about May 11, 2017, by compromising Employee 1's

account via the spearphishing activity described above.       The Conspirators then used

Employee 1's credentials to access his/her account without authorization on dozens of

occasions from on or about May 11, 2017, through on or about May 17, 2017 to, among

other things, maintain persistence and compromise additional accounts.

       49.    During this time, the Conspirators added several malicious executable files

and computer scripts to Employee 1's file storage. For example, on or about May 11, 2017,

minutes after first accessing Employee l's account, the Conspirators added a malware file

called ntdll.exe, which contained Backdoor.Goodor, to Employee 1's file storage. When



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executed, ntdll.exe allowed the Conspirators to execute commands on victim systems via

one of nine C2 servers, some of which the Conspirators also used to target other victims.

       50.    Later that same day, GAVRILOV placed a shortcut file (named

SETROUTE.lnk) in several Wolf Creek users' file storage, including Employee 1. The
                                                                                                 [
Conspirators designed the shortcut files to request access to a file icon (e.g., pic.png) from

a Conspirator-controlled server outside Wolf Creek's network, thereby sending user

credentials to those servers via an SMB redirect attack. The SMB redirect attack did not

require that a user click on the malicious file. Instead, this attack would be triggered if a

user opened a directory containing the shortcut file.

       51.    The next day, on or about May 12, 2017, after the Conspirators had obtained

access to Wolf Creek's computer network, AKULOV continued to familiarize himself with

Wolf Creek and Westar Energy.

       52.    On or about May 15, 2017, GAVRILOV added three files - svcsrv.bat,

Inveigh.psl, and Inveigh-Relay.psl - to Employee 1's file storage. These files were

designed to exploit SMB traffic, allowing the Conspirators to collect usernames and

password hashes for computers on a victim network.

       53.    That same day, the Conspirators added more malware - notepad.exe.lnk, d.js,

and SD.bat - to the file storage of several Wolf Creek employees, including Employee 1.

The Conspirators designed these files to capture additional information about a victim

network and gather usernames and password hashes to aid the Conspirators' efforts to

compromise Wolf Creek's network.



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       54.    Through such methods, the Conspirators obtained access to at least one other

Wolf Creek employee account, ("Employee 9"), which the Conspirators used, without

authorization, from on or about May 18, 2017, through on or about May 29, 2017. As with

Employee l's account, the Conspirators used Employee 9's account to store and download
                                                                                                L
                                                                                                I
malware on Wolf Creek's network.

        Compromise and Creation ofEnergy Sector Watering Hole Domains

       55.    From in and around December 2016 through in and around June 2017, the

Conspirators seeded at least six domains with malicious JavaScript code (since remediated)

that, using an SMB redirect attack, caused computers visiting those websites to become

watering holes. One of the compromised websites belonged to Company Four, another

belonged to Company Five, and four belonged to Company Six. During the Conspiracy,

the servers hosting these websites were located in the United States.

       56.    All of these websites would have been of interest to those involved in the

energy sector, including power system operators. Moreover, each of these compromised

websites involved information or publications of particular interest to those involved in the

energy sector or the manufacture and use of ICS/SCADA devices.

       57.    In some cases, the Conspirators gained the necessary access to embed the

malicious JavaScript code via spearphishing.        For example, on May 29, 2017, the

Conspirators sent a spearphishing email with a "Controls Engineer Resumes" malicious

attachment to a Company Four employee who had administrative access to Company

Four's website ("Employee 10"). Employee 10 opened the attachment, which caused the

transmission of Employee lO's username and hashed password to the Conspirators. On or

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about June 5, 2017, the Conspirators used Employee l0's credentials to access the

administrative portion of Company Four's website to insert the malicious JavaScript code.

       58.      Alternatively, the Conspirators also gained the necessary unauthorized

access through vulnerabilities in popular content management software. For example, on
                                                                                            F

or about April 7, 2017, the Conspirators compromised Company Five's website in this

manner.

       59.      These watering holes resulted in connections between several domestic

energy sector companies' computer networks and the Conspirators' credential harvesting

servers.     This included computers at Westar Energy, which connected to one of the

Conspirators' servers on April 4, 2017.

                Use of Compromised Company Seven Account as a Proxy

       60.      On or about March 2, 201 7, after the Conspirators accessed, without

authorization, a Company Seven server via the Security Software Vulnerability, the

Conspirators created an administrator account called MS_BACKUP on Company Seven's

computer network. The Conspirators remotely accessed this account from on or about

March 2, 2017, to on or about November 14, 2017. During this time, the servers hosting

Company Seven's network were located in the United States.

       61.      The Conspirators repeatedly used Company Seven's network (via the

MS_BACKUP account) as a proxy to further the conspiracy. For example, from on or

about May 28, 2017, to on or about November 12, 2017, the Conspirators attempted to,

and in many cases did, log into the web services of various Chinese and European energy,

utility, and critical infrastructure entities.

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       62.    Additionally, on or about September 29, 2017, GAVRILOV used the

MS_BACKUP account to access some of the conspiracy's other hacking infrastructure.

                                         COUNT2

     COMPUTER FRAUD - UNLAWFUL ACCESS TO OBTAIN INFORMATION FROM
                            PROTECTED COMPUTERS                                                 r
                                                                                                f"
                 [18 U.S.C. §§ 1030(a)(2)(C), 1030(c)(2)(B)(ii), and 2]

       63.    The allegations contained in paragraphs 1 through 62 are repeated, re-

alleged, and incorporated by reference as if fully set forth herein.

       64.    From on or about May 11 , 2017, to on or about May 29, 2017, in the District

of Kansas and elsewhere, the defendants,

                     PAVEL ALEKSANDROVICH AKULOV and
                      MIKHAIL MIKHAILOVICH GA VRILOV,

intentionally accessed a computer without authorization and thereby obtained information

from a protected computer, in furtherance of a criminal and tortious act in violation of the

laws of the United States, that is, wire fraud, in violation of Title 18, United States Code,

Section 1343, and aided and abetted the same, to wit, AKULOV and GAVRILOV

accessed, and aided and abetted accessing, without authorization Wolf Creek' s computer

network and obtained user credentials.

       65.    All in violation of Title 18, United States Code, Sections 1030(a)(2)(C) and

1030(c)(2)(B)(ii) and 2.




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                                       COUNTS 3-6

                COMPUTER FRAUD - DAMAGE TO PROTECTED COMPUTERS
                   [18 U.S.C. §§ 1030(a)(5)(A), 1030(b), 1030(c)(4)(B), and 2]

       66.      The allegations contained in paragraphs 1 through 62 are repeated, re-

alleged, and incorporated by reference as if fully set forth herein.

       67 .     On or about the dates listed below, in the District of Kansas and elsewhere,

the defendants,

                      PAVEL ALEKSANDROVICH AKULOV and
                       MIKHAIL MIKHAILOVICH GAVRILOV,

knowingly caused and attempted to cause the transmission of a program, information, code,

and command, and as a result of such conduct, caused and attempted to cause ·damage

without authorization to a protected computer; to wit, the defendants knowingly caused

and attempted to cause the transmission of malware to computers on Wolf Creek's

computer network, and aided and abetted the same, and as a result of such conduct, caused

and attempted to cause damage without authorization to computers used by Wolf Creek.

The offenses caused loss resulting from a related course of conduct affecting one or more

protected computers aggregating at least $5,000 in value.

 Count          Approximate Date                               Basis
 3            May 11, 2017               Transmitting the ntdll.exe file to Employee l's
                                         user directory
 4            May 11, 2017               Transmitting the SETROUTE.lnk file to multiple
                                         user directories
 5            May 15, 2017               Transmitting svcsrv. bat, Inveigh.ps 1, and
                                         Inveigh-Relay.psl to Employee l's user directory
 6            May 15, 2017               Transmitting the notepad.exe.lnk, d.js, and SD.bat
                                         files to Employee l's and other accounts' file
                                         storage


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          68.    Each in violation of Title 18, Unit&d States Code, Sections 1030(a)(5)(A),

1030(c)(4)(B), and 2.

                                          COUNT7

                                  WIRE FRAUD CONSPIRACY
                                       [18 u.s.c. § 1349]                                         r
                                                                                                  F



          69 .   The allegations contained in paragraphs 1 through 13 and paragraphs 18

through 62 are repeated, re-alleged, and incorporated by reference as if fully set forth

herein.

                       THE CONSPIRACY AND ITS OBJECTS

       70.       Beginning at least in and around July 2012 and continuing through at least in

and around November 2017, the exact dates being unknown to the grand jury, in the District

of Kansas and elsewhere, the defendants,

                        PAVEL ALEKSANDROVICH AKULOV
                      MIKHAIL MIKHAILOVICH GA VRILOV, and
                         MARAT VALERYEVICH TYUKOV

knowingly and intentionally conspired, combined, and agreed together, with each other,

and with others known and unknown to the grand jury, to commit an offense against the

United States, that is, wire fraud, contrary to the provisions of Title 18, United States Code,

Section 1343; to wit, the defendants, PAVEL ALEKSANDROVICH AKULOV,

MIKHAIL MIKHAILOVICH GAVRILOV, and MARAT VALERYEVICH TYUKOV,

together with conspirators, devised and intending to devise a scheme to defraud, and to

obtain property by means of false and fraudulent pretenses, representations and promises,

transmitted and caused to be transmitted by means of wire communication in interstate and


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foreign commerce, certain writings, signs, signals, and pictures for the purpose of

executing such scheme.

      71.    Specifically, an object of the conspiracy was to, by means of false and

fraudulent pretenses, obtain authentication credentials to maintain persistent access to
                                                                                            I
                                                                                            F

victim computer networks by hacking computers belonging to companies and entities that

were part of the global energy sector, including their power generation facilities. These

victims include those described in paragraphs 7 through 10 above.

      72.    With respect to computer intrusions that were part of the conspiracy, the

Conspirators transmitted, in interstate and foreign commerce, computer code and files

designed to gain unauthorized access to victims' computers and networks.           After

compromising victims' systems, the Conspirators sent commands to, and received

communications from, computer files and malware that they had installed on victim

machines.

      73.    For example, some of the Conspirators' intrusion activities involved supply

chain attacks that spread malware via vendors that provided equipment and software to

energy and power generation companies.          After gaining unauthorized access to the

computers of equipment vendors, the Conspirators would illegally obtain and modify

victim vendors' software, and then replace the legitimate software on vendors' websites

with versions that would, when installed by users, grant the Conspirators unauthorized

access to victims' computers via backdoors and other malware.

      74.    The Conspirators also used stolen authentication credentials to misrepresent

their identities within the victims' networks to obtain unauthorized access to and move

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laterally within victim networks.          The Conspirators also created administrator-level

accounts to misrepresent their identities within the victims' networks and email accounts

that mimicked those of legitimate victim accounts.

       75.     In addition, the Conspirators crafted and transmitted, in interstate and foreign
                                                                                                  f
commerce, spearphishing emails designed to gain unauthorized access to victims'

computer networks.        The Conspirators created spearphishing emails that appeared

legitimate to deceive recipient victims into opening the emails and their malicious

attachments, thus enabling the Conspirators to steal credentials for the victims' computer

networks.

       76.     In some instances, Conspirators also compromised and then used watering

hole domains, which the Conspirators used to induce victim computers to reveal credentials

for the victims' computer networks and download malicious software that would gain

unauthorized access to the victims' computers.

       77.     All in violation of Title 18, United States Code, Section 1349.

                                          COUNTS 8-17

                                         WIRE FRAUD
                                    [18 U.S.C. §§ 1343 and 2]

       78.     The allegations contained in paragraphs 1 through 13 and paragraphs 18

through 62, and paragraphs 70 through 77 are repeated, re-alleged, and incorporated by

reference as if fully set forth herein.

       79.     On or about the dates set forth below, in the District of Kansas and elsewhere,

the defendants,


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                    PAVEL ALEKSANDROVICH AKULOV and
                     MIKHAIL MIKHAILOVICH GA VRILOV,

having devised and intending to devise a scheme to defraud, and to obtain property by

means of false and fraudulent pretenses, representations and promises, transmitted and

caused to be transmitted by means of wire communication in interstate and foreign
                                                                                              r
commerce, certain writings, signs, signals, and pictures for the purpose of executing such

scheme and artifice, and aided and abetted the same; to wit, the defendants knowingly

transmitted malware by means of wires to Wolf Creek's computer systems, on or about the

dates and times set forth below in Counts 8 through Count 17, and stole and used Employee

1's user authentication credentials to make a transmission in furtherance of adding malware

to Wolf Creek's computer network, on or about the date and time set forth below in Count

17.

 Count         A roximate Date EDT)                               Basis
 8          Ma 5,2017                            s             Email Sent to Em lo ee 2
 9          Ma 5,2017                            s             Email Sent to Em lo ee 3
 10         Ma 5,2017                            s             Email Sent to Em lo ee 1
 11         Ma 5,2017                            s             Email Sent to Em lo ee 4
 12         Ma 5,2017                            s             Email Sent to Em lo ee 5
 13         Ma 5,2017                            s             Email Sent to Em lo ee 6
 14         Ma 5,2017                            s             Email Sent to Em lo ee 7
 15         Ma 15,2017                           s             Email Sent to Em lo ee 1
 16         Ma 15,2017                           s             Email Sent to Em lo ee 8
 17         May 11, 2017                         First outbound transmission from
                                                 Employee 1's account to an IP address
                                                 controlled b the Cons irators


      80.     Each was in violation of Title 18, United States Code, Sections 1343 and 2.




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                                      COUNTS 18 - 20

                                AGGRAVATED IDENTITY THEFT
                                   [18 U.S.C. §§ 1028A and 2]

       81.     The allegations contained in paragraphs 1 through 13, paragraphs 18 through

62, and paragraphs 70 through 77 are repeated, re-alleged, and incorporated by reference         r
as if fully set forth herein.

       82.     On or about the dates set forth below, in the District of Kansas and elsewhere,

the defendants,

                      PAVEL ALEKSANDROVICH AKULOV and
                       MIKHAIL MIKHAILOVICH GA VRILOV,

knowingly transferred, possessed and used without lawful authority, a means of

identification of another person, and aided and abetted the same, during and in relation to

a felony violation enumerated in Title 18, United States Code, Section 1028A(c), namely,

conspiracy to commit wire fraud, in violation of Title 18, United States Code, Section 1349,

as charged in Count 7, knowing that the means of identification belonged to another real

person who worked on behalf of the targeted victim organization.

  Count        Approximate          Victim                   Means of Identification
                    Dates       Organization
 18          May 11, 2017, to Wolf Creek                  Username and password for
             May 17, 2017                                 account used by Employee 1
 19          May 18, 2017, to Wolf Creek                  Username and password for
             May 29, 2017                                 account used by Employee 9
 20          May 31, 2017, to Company Four                Username and password for
             June 5, 2017                                 account used by Employee 10


       83.     Each in violation of Title 18, United States Code, Sections 1028A(a)(l),

1028A(b), 1028A(c)(4), and 2.

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                               FORFEITURE NOTICE

       84.    The allegations contained in paragraphs 1 through 83 of this Indictment are

realleged and incorporated by reference as though fully set forth herein for the purpose of

alleging forfeiture pursuant to Title 18, United States Code, Sections 981(a)(l)(C),
                                                                                              f
                                                                                              F

982(a)(2)(B), and 1030(i) and Title 28, United States Code, Section 2461.

       85.    Upon conviction of one or more of the offenses set forth in Counts One

through Seventeen of this Indictment, the defendants shall forfeit to the United States of

America, pursuant to Title 18, United States Code, Sections 981(a)(l)(C), 982(a)(2)(B),

and 1030(i)(l)(B) and Title 28, United States Code, Section 2461(c), any property, real or

personal, which constitutes or is derived from proceeds traceable to the offenses.

       86.    Upon conviction of one or more of the offenses set forth in Counts One

through Six of this Indictment, the defendants shall forfeit to the United States of

America, pursuant to Title 18, United States Code, Section 1030(i)(l)(A), any personal

property that was used or intended to be used to commit or to facilitate the commission of

such violations.

                                SUBSTITUTE ASSETS

       87.    If any of the property described above, as a result of any act or omission of

the defendants:

              a.     cannot be located upon the exercise of due diligence;

              b.     has been transferred or sold to, or deposited with, a third party;

              c.     has been placed beyond the jurisdiction of the comt;

              d.     has been substantially diminished in value; or
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              e.     has been commingled with other property which cannot be divided

       without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant

to Title 21, United States Code, Section 853(p).
                                                                                               I
                                                                                               F




                                          A TRUE BILL.




August 26, 2021                            s/F oreperson
DATE                                      FOREPERSON OF THE GRAND JURY


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IT IS REQUESTED THAT THE TRIAL BE HELD IN KANSAS CITY, KANSAS




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                                     PENALTIES


Count 1 [18 U.S.C. § 371 conspiracy]

   •   Punishable by a term of imprisonment of not more than five years. 18 U.S.C. §
       371.                                                                             I
                                                                                        [
   •   A term of supervised release of not more than three years. 18 U.S.C. §
       3583(b)(2).

   •   A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).

   •   A mandatory special assessment of$100 . 18 U.S .C. § 3013(a)(2)(A).

   •   Forfeiture.

Count 2 [18 U.S.C. §§ 1030(a)(2)(C) & 1030(c)(2)(B)(ii) computer fraud to
obtain information]

   •   Punishable by a term of imprisonment of not more than five years. 18 U.S.C . §
       1030(c)(2)(B).

   •   A term of supervised release of not more than three years. 18 U.S .C. §
       3583(b)(2).

   •   A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).

   •   A mandatory special assessment of $100. 18 U.S.C. § 3013(a)(2)(A).

   •   Forfeiture.

Counts 3-6 [18 U.S.C. §§ 1030(a)(5)(A) & 1030(c)(4)(B) computer fraud to
damage protected computers]

   •   Punishable by a term of imprisonment of not more than ten years. 18 U.S.C. §
       1030(c)(4)(B).

   •   A term of supervised release of not more than three years. 18 U.S.C. §
       3583(b)(2).



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~;-      •   A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3). In the alternative, the
             defendant may be fined not more than the greater of twice the gross gain or twice
             the gross loss. 18 U.S.C. § 357l(d).

         •   A mandatory special assessment of$100. 18 U.S.C. § 3013(a)(2)(A).

         •   Forfeiture.
                                                                                                 f
                                                                                                 F


      Counts 7-17 [18 U.S.C. §§ 1349 and 1343 wire fraud conspiracy and wire
      fraud]

         •   Punishable by a term of imprisonment of not more than twenty years . 18 U.S.C.
             § 1343.

         •   A term of supervised release of not more than three years. 18 U.S.C. §
             3583(b)(2).

         •   A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3). In the alternative, the
             defendant may be fined not more than the greater of twice the gross gain or twice
             the gross loss. 18 U.S.C. § 357l(d).

         •   A mandatory special assessment of$100. 18 U.S.C. § 3013(a)(2)(A).

         •   Forfeiture.

      Counts 18-21 [18 U.S.C. § 1028A aggravated identity theft]

         •   Punishable by a term of imprisonment of not less than two years consecutive to
             any other sentence imposed. 18 U.S.C . §§ 1028A(a)(l) & 1028A(b)(2).

         •   A term of supervised release of not more than one year. 18 U.S.C. § 3583(b)(3).

         •   A fine not to exceed $250,000 . 18 U.S .C. § 357l(b)(3).

         •   A mandatory special assessment of $100 . 18 U.S.C. § 3013(a)(2)(A).




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